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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

CHERYL WEIMAR,
      Plaintiff,

v.                                           CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,
     Defendants.
________________________________/

            PLAINTIFF’S MOTION FOR LEAVE TO FILE REPLY
           IN SUPPORT OF MOTION FOR ADVERSE INFERENCES

      COMES NOW, Plaintiff, Cheryl Weimar, by and through the undersigned

counsel, and pursuant to M.D. Fla. Loc. R. 3.01(d), respectfully seeks leave file

Reply in Support of her Motion for Adverse Inferences, and states as follows:

      1.     On February 14, 2020, Plaintiff filed her Motion for Adverse Inferences

Against Defendant Florida Department of Corrections (“FDC”), ECF No. 88.

      2.     On February 28, 2020, FDC filed its Response in Opposition to

Plaintiff’s Motion for Adverse Inference, ECF No. 91.

      3.     Upon review of FDC’s Response, Plaintiff now seeks leave to file a

Reply in order to address arguments raised in FDC’s Response that were not

addressed in Plaintiff’s Motion or otherwise extend beyond the matters addressed in

Plaintiff’s Motion. Specifically, FDC argues that this Court is precluded from

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drawing any adverse inferences against FDC because a dispute exists as to which

legal standard applies for holding FDC liable under the ADA and/or RA based on

the acts or omissions of its employees. However, this argument erroneously

conflates issues pertinent to Plaintiff’s Motion with those pertinent to Plaintiff’s

claims. As such, the proposed Reply seeks to address this new argument and issue

which FDC has injected into the analysis, and the effect is has on deciding Plaintiff’s

Motion for Adverse Inferences.

       4.     The estimated length of the proposed Reply is five (5) pages.

       5.     Counsel for Plaintiff has conferred with counsel for FDC, who advised

that FDC opposes Plaintiff’s request for leave to file a Reply. 1 Notwithstanding

FDC’s opposition, Plaintiff has demonstrated good cause for requesting leave to file

a Reply based on the new arguments and issues raised in FDC’s Response.

       WHEREFORE, Plaintiff respectfully moves this Court for an Order granting

Plaintiff leave to file a Reply in support of her Motion for Adverse Inferences.




                              [Signatures on following page]



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   Because FDC objected without explanation, Plaintiff was unable to respond to the objection
substantively for purposes of this Motion. However, Plaintiff presumes that FDC objects because
it does not want Plaintiff to address FDC’s erroneous or misplaced arguments and reasoning, which
are wholly unrelated to the merits of Plaintiff’s Motion and only add confusion to the analysis
rather than inform it.
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                                       Respectfully submitted,

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                                       /s/ Ryan J. Andrews
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                                       Counsel for Plaintiff

                     LOCAL RULE 3.01(g) CERTIFICATE
      Pursuant to Rule 3.01(g) of the Local Rules of the Middle District of Florida,

the undersigned has conferred in writing with counsel for Defendant FDC regarding

this Motion, and reports that Defendant FDC oppose the relief requested herein.

                                       /s/ Ryan J. Andrews
                                       RYAN J. ANDREWS

                            CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 3rd day of March, 2020, a true and correct copy

of the foregoing was electronically filed in the U.S. District Court, Middle District

of Florida, using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.

                                       /s/ Ryan J. Andrews
                                       RYAN J. ANDREWS
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